                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
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NIKI ROBINSON and PATRICK TOMLINSON,

                               Plaintiffs,

v.                                                                  Case No. 24-CV-00264

CITY OF MILWAUKEE and LYNDON EVANS,

                        Defendants.
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             NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL
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         PLEASE TAKE NOTICE that in addition to the City Attorney, Tearman Spencer, and

Assistant City Attorney, Maria Mesoloras, Assistant City Attorney William Hotchkiss also

represents and appears for the Defendants City of Milwaukee and Lyndon Evans, in the above-

entitled action, and demands that copies of all proceedings subsequent to the summons and

complaint herein be served at our office, at Suite 800 City Hall, 200 East Wells Street,

Milwaukee, Wisconsin 53202-3551.

         Dated and signed at Milwaukee, Wisconsin this 1st day of April, 2024.

                                                     TEARMAN SPENCER
                                                     City Attorney

P.O. ADDRESS:                                        s/William Hotchkiss
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